  Alan M. Rifkin                           Arnold M. Weiner                         Scott A. Livingston (MD, DC)               Michael V. Johansen             Joel D. Rozner (MD, DC)
  M. Celeste Bruce (MD, DC)                Charles S. Fax (MD, DC, NY)†             Jamie Eisenberg Katz (MD, DC, NY)          Barry L. Gogel                  Liesel J. Schopler (MD, DC)
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  Camille G. Fesche (MD, DC, NY, NJ)       Madelaine Kramer Katz (MD, DC, VA)       Michael T. Marr (MD, DC, VA, NC)           Devon L. Harman                 Laurence Levitan††
                                           Michael A. Miller†                                                                  Lance W. Billingsley††
  Edgar P. Silver (1923-2014)                                                                                                                                  John C. Reith (Nonlawyer/Consultant)
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                                                                            February 2, 2022

          VIA HAND-DELIVERY & ECF

          Hon. George L. Russell, III
          c/o Clerk’s Office
          U.S. District Court for the District of Maryland
          101 W. Lombard Street, 4th Floor
          Baltimore, MD 21202

                        Re:            United States v. Snyder, Cr. No. 1:20-cr-00337-GLR

          Dear Judge Russell:

                  I write to address the United States’ Opposition to [Docket No. 85] (the “Opposition”),
          filed on January 31, 2022 opposing my letter of January 18, 2022, requesting that the Court
          schedule a hearing on the Defendant’s Brady motion in advance of the scheduled June 2, 2022
          hearing for consideration of the Defendant’s Motions to Dismiss.

                  Unfortunately, the Government has chosen to argue the merits of both the Brady motion
          and the Defendant’s First Motion to Dismiss instead of addressing the efficiency that would be
          promoted by hearing the Brady motion prior to the substantive motions to dismiss. In doing so,
          moreover, the Government sets forth an inaccurate and incomplete statement of the facts and
          totally overlooks the facts that Snyder had provided to the Court in his reply to those arguments
          when they were first made by the Government.

                 In its Opposition, the Government merely repeats the ill-conceived merits arguments that
          the Defendant has already rebutted. First, the Government is wholly mistaken when it asserts that
          the material sought by the Brady motion cannot be exculpatory because the alleged criminal
          conduct occurred before the prosecutors directed the UMMS representatives that they were not to
          meet with attorney Andrew Graham, Esq. (“Graham”) to discuss the issues raised by Snyder’s
          proposed consultancy with UMMS. In Defendant’s Reply brief [Docket Nos. 79 and 81] at pp.
          25-31, Snyder discredits this argument, making the following points:

                        (1)            The Indictment alleges that Snyder’s conduct “between January and October 2018”
                                       was all part of one “scheme.” The Government does not allege that Snyder had one
                                       intent at the beginning of the “scheme” and another one towards the end of the same
                                       “scheme.” Thus, any evidence that defeats criminal intent, whether at the beginning




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               or end of the alleged scheme, is exculpatory and exonerating. See Reply at pp.
               25-27.

       (2)     There is nothing unusual about the proposition that acts and statements late in a
               course of conduct, or even after the course of conduct has ended, are probative of
               the intent with which the actor engaged in the entire course of conduct. See Reply
               at p. 27.

       (3)     Any evidence that Snyder could present to demonstrate his innocent intent during
               the investigation would be equally applicable to demonstrate his innocent intent at
               the beginning of the alleged scheme and at the end. See Reply at pp. 27-30.

       (4)     Susan Kinter, the head of UMMS claims, contends that Snyder first began to extort
               UMMS at a June 2018 meeting when, she says, he sought a $25 million consultancy
               for himself. Kinter and Natalie Magdeburger, a UMMS outside lawyer, both
               acknowledge, however, that, at the June meeting and shortly thereafter, Snyder also
               urged them to contact Mr. Graham to discuss Snyder’s proposal so they could
               determine whether Snyder’s proposal could be effectuated. See Reply at pp. 27-30.

       (5)     The Government has confirmed to Kinter that it directed the UMMS representatives
               not to meet with Mr. Graham precisely because it did not want there to be a
               recording of such a meeting between Mr. Graham and UMMS representatives. This
               also confirms the Government’s view of how extraordinarily beneficial such
               evidence would be to Snyder’s case. See Reply at 31.

       (6)     The case against Snyder is already weak. An experienced prosecutor declined to
               prosecute under the facts as we know them. In that context, lost or omitted evidence
               is “material” if it is capable of creating reasonable doubt, particularly when the case
               “is already of questionable validity.” U.S. v. Agurs, 427 U.S. 97 (1976) at 112-13.
               See Reply at pp. 30-31.


       Second, the Government argues incorrectly that the statements between Graham and
Magdeburger in a recorded call on August 27, 2018, indicate that another recording of Graham
could not have been exculpatory. In the call between Magdeburger and Graham, which the
Government staged, the Brady information will show that the Government agents instructed
Magdeburger to refrain from telling Graham about UMMS’ concerns. Reply at 39. During the
August 27th call, moreover, Graham suggested the very meeting that the Government prevented
from occurring. The recording of the 27th call shows that Graham asked that UMMS meet with
Snyder and himself, so that “everybody” could “sit at a table and talk it through.” Id. A recording
of such a proposed meeting is exactly what the Government prevented from occurring because the
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Government knew that, with such a recording, Snyder could conclusively show that he was not
“hiding information from Mr. Graham or acting with criminal intent requisite for attempted
extortion. And, if the Government had not blocked the meeting, the mere fact that it occurred
would have established Snyder’s innocence.” Reply at 33-34.

        Precisely because of the merits issues, the details of the instructions that the Government
agents gave the UMMS representatives not to meet with Mr. Graham are exactly what should be
fleshed out at a Brady hearing before the Motions to Dismiss are heard. For the reasons that are
set forth in my letter of January 18, and are reiterated here, we request that the Court conduct its
hearing on the Brady issues in advance of the hearing on the motions to dismiss because an early
hearing on the Brady motion can only assist the Court when it later considers the merits of the
motions to dismiss.

                                      Very truly yours,

                                              /s/

                                      Arnold M. Weiner

AMW:emk

cc:    Leo J. Wise
       Matthew Phelps
          Assistant United States Attorneys
       Stuart A. Cherry, Esq.
       Devon L. Harman, Esq.
